142 F.3d 443
    81 A.F.T.R.2d 98-1902, 98-1 USTC  P 50,412
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Viney K. GUPTA, Plaintiff-Appellant,v.UNITED STATES OF AMERICA, Defendant-Appellee.
    No. 97-56061.D.C. No. CV-96-01164-AHS.
    United States Court of Appeals,Ninth Circuit.
    .Submitted April 20, 1998.**Decided April 24, 1998.
    
      Appeal from the United States District Court for the Central District of California, Alicemarie H. Stotler, District Judge, Presiding.
      Before BRUNETTI, RYMER and T.G. NELSON, Circuit Judges.
    
    
      1
      MEMORANDUM*
    
    
      2
      Viney K. Gupta appeals pro se the district court's dismissal with prejudice of his action seeking damages from the Internal Revenue Service and a refund of taxes.  We affirm for the reasons stated in the district court's Order filed on June 10, 1997.
    
    
      3
      AFFIRMED.
    
    
      
        **
         The panel unanimously finds this case suitable for decision without oral argument.  See Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        *
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    